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In the Gnited States Court of Federal Clanns

No, 17-807C
(Filed August 25, 2017)
NOT FOR PUBLICATION

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SAMUEL BURLESON, . FILED
*k
Plaintiff, * AUG 25 2017
* U.S. COURT OF
Vv. * FEDERAL CLAIMS
*
THE UNITED STATES, *
*
Defendant. -
*
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ORDER

The complaint in this case was filed by Samuel Burleson, a prisoner in the
custody of the State of Texas who is not eligible for in forma pauperis status under
the Prison Litigation Reform Act’s three-strikes rule. Order (June 21, 2017) (citing
28 U.S.C. § 1915(g)). Plaintiff was ordered to pay the $400 filing fee in full by
Thursday, July 20, 2017. On July 10, 2017, Mr. Burleson moved for a 60-day
extension of the payment deadline, requesting a bill from the court and demanding
that the court pay him $4000, from which he can pay the fee.

He subsequently submitted even more frivolous papers, in which he demands
larger sums, asks that the fee be waived, purports to secure the filing fee through
homemade financing documents, and contends that payment of the filing fee is
rendered impossible due to the government’s failure to use gold or silver coins, It is
clear from these documents that Mr. Burleson does not intend to pay the filing fee.
Plaintiff's motions to extend the payment deadline and for assistance in making the
payment, ECF Nos. 5 & 10, are DENIED as frivolous. All other motions are
DENIED as moot.

As a consequence, this case is DISMISSSED for failure to prosecute,
pursuant to Rule 41(b) of the Rules of the United States Court of Federal Claims.
The Clerk shall close the case.

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IT IS SO ORDERED.

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